
PER CURIAM.
By petition for a writ of certiorari we are requested to review a decision of the Court of Appeal, Second District, because of an alleged conflict with Dobson v. Crews, 164 So.2d 252, a decision of the Court of Appeal, First District. See, Florida East Coast Railway Co. v. Smith, Fla.App., 166 So.2d 233.
The District Court here dismissed the Appeal because of the non-appealability of an order permitting a voluntary non-suit. We have distinguished Dobson by our opinion in a similar case. See, Bennett v. Fratus, Fla., 177 So.2d 334, opinion filed the *69121st day of July, 1965. We have generally disposed of the non-suit problem by our decision in Crews v. Dobson, Fla., 177 So.2d 202, opinion filed July 7, 1965.
We find no jurisdictional conflict between the instant decision and the decisions in the cited cases.
The writ is, therefore, denied.
THORNAL, C. J., and THOMAS, ROBERTS, DREW and O’CONNELL, JJ., concur.
